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                UNITED STATES COURT OF INTERNATIONAL TRADE




 In Re Section 301 Cases                        Court No. 21-cv-00052-3JP




Standard Procedural Order 21-04

        Upon consideration of Plaintiffs’ Coordinated Proposal in Response to Standard

Procedural Order 21-02, ECF No. 260; Defendants’ Response to Plaintiffs’ Proposal in

Response to Standard Procedural Order 21-02 (“Defs.’ Resp.”), ECF No. 265; and all

other papers and proceedings herein, the court hereby issues the following orders:



Sample Case

        ORDERED that HMTX Industries LLC, et al. v. United States, et al., Court No.

20-cv-00177 (CIT), shall serve as the sample case for purposes of the court’s initial

consideration and resolution of Plaintiffs’ claims.



Other Cases Stayed

        ORDERED that all other Section 301 Cases (as defined in Standard Procedural

Order 21-01, ECF No. 1, and, as noted therein, inclusive of similar cases subsequently

assigned to this panel) are hereby stayed; and it is further

        ORDERED that any party seeking to lift the stay on any Section 301 Case must

consult with the other parties to that case and with the Steering Committee at least

three days in advance of filing a motion with this court to lift the stay. The moving party
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must provide good cause for the court to depart from the case management procedures

provided in these Standard Procedural Orders.



Steering Committee

        ORDERED that the court appoints a Plaintiffs’ Steering Committee, with

responsibilities as prescribed in Standard Procedural Order 21-02, consisting of the

following:


               Counsel                                       Firm

 1.     Matthew R. Nicely                Akin Gump Strauss Hauer & Feld LLP (DC)

 2.          Chunlian Yang                          Alston & Bird LLP (DC)

 3.          Lawrence M.                Barnes, Richardson & Colburn LLP (Chicago)
              Friedman
 4.          Dan Cannistra                        Crowell & Moring LLP (DC)

 5.          Randy Rucker               Faegre Drinker Biddle & Reath LLP (Chicago)

 6.      Gregory Husisian                         Foley & Lardner LLP (DC)

 7.           Joseph M.                           Grunfeld Desiderio Lebowitz
              Spraragen                         Silverman & Klestadt LLP (NY)

 8.      Chandri Navarro                         Hogan Lovells US LLP (DC)

 9.      Nithya Nagarajan                         Husch Blackwell LLP (DC)

 10.     George Tuttle, III              Law Offices of George R. Tuttle, APC (San
                                                         Francisco)
 11.     Kristin H. Mowry                       Mowry & Grimson PLLC (DC)

 12.     Richard F. O’Neill                     Neville Peterson LLP (Seattle)

 13.         Shannon Fura                         Page Fura P.C. (Chicago)

 14.          Michael Roll                          Roll & Harris LLP (LA)

 15.          Patrick Gill                  Sandler, Travis & Rosenberg P.A. (NY)
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       Akin Gump Strauss Hauer & Feld LLP, of Washington, DC, shall serve as the

point of contact for the Steering Committee such that the court and Defendants may

coordinate any communication with the Steering Committee through Akin Gump.




Joint Status Report

       ORDERED that the Steering Committee and Defendants shall consult regarding

the submission of a joint status report. The joint status report must include a proposed

briefing schedule substantially in accordance with the guidance provided in Standard

Procedural Order 21-02.

       The joint status report also must identify any additional issues requiring early

case management intervention and include a joint proposal for addressing any such

issues to the extent possible. If the Steering Committee and Defendants are unable to

agree on a proposal, the status report should identify the position of each side and the

basis for any disagreement. Any such issues may form the basis for an agenda to be

addressed at a status conference with the court.

       The joint status report is due no later than April 12, 2021. If a conference is

necessary, the court will contact the Steering Committee and Defendants to schedule

the status conference, to be held via videoconference.




Issues Regarding Relief

       The court is aware that questions regarding the scope of relief available to the

Plaintiffs remain of concern to Plaintiffs and that Defendants hold the view that Plaintiffs
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are seeking an advisory opinion from the court. Defs.’ Resp. at 3. Defendants are

declining to “enter into a stipulation concerning the relevant law that would apply to

plaintiffs’ request for a remedy, as . . . it is for the Court, not the parties, to determine the

law that governs requests for relief.” Defs.’ Resp. at 4.

       There is no motion pending before the court regarding relief and the court will not

issue an advisory opinion on the matter of relief. Moreover, while Defendants decline to

enter into a stipulation, they have not identified an actual disagreement with Plaintiffs

regarding relief that the court may ultimately need to resolve. Nevertheless, the court is

clear-eyed regarding its role in managing the extensive number of Section 301 Cases

and the challenges and importance of providing timely, effective, and administrable

relief should Plaintiffs establish their right to such relief. Therefore, the Steering

Committee and Defendants must continue their consultations, including discussion of

the liquidation status, protest status, etc., of the entries in dispute in an effort to identify

areas of agreement and the extent of any disagreement with respect to relief. Should

Plaintiffs determine to seek one or more injunctions in order to preserve any access to

relief, while the court will determine whether the basis for any such injunction(s) exist,

the Parties must work together constructively to draft proposed language that would

effectuate such injunction(s) in the most administratively efficient manner both for the

court and for the relevant agencies.
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      Consequently, the Steering Committee and Defendants are ORDERED to

address, in the joint status report, any issues regarding relief upon which they agree

and identify areas of disagreement, including the basis for such disagreement.




Dated: March 31, 2021                          /s/ Mark A. Barnett
      New York, New York                 Judge Mark A. Barnett



                                               /s/ Claire R. Kelly
                                         Judge Claire R. Kelly



                                               /s/ Jennifer Choe-Groves
                                         Judge Jennifer Choe-Groves
